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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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B & S MEDICAL SUPPLY, INC., N.Y.
and BORIS SIMON, Index No.:
Plaintiffs, ._ JURY TRIAL DEMANDED
-against-
WORLD BUSINESS LENDERS, LLC and
LIBERTY BANK, INC.,
Defendants.
xX
VERIFIED COMPLAINT

 

(Federal Racketeering Influence & Corrupt Organization Act, 18 U.S.C. § 1961 et seq.)
(Common Law Usury)

ZIMMERMAN Law, P.C.

315 Walt Whitman Road, Suite 215
Huntington Station, New York 11746
Attorneys for Plaintiffs

 
 

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PREAMBLE
COMES NOW, Plaintiffs, B & S MEDICAL SUPPLY, INC., N.Y. and BORIS SIMON
(hereinafter collectively referred to as “Plaintiffs”), by and through their attorneys, ZIMMERMAN
LAW, P.C., hereby sues Defendants, WORLD BUSINESS LENDERS, INC, and LIBERTY
BANK, INC. (hereinafter collectively referred to as “Defendants”), and respectfully allege, upon
their own knowledge as to themselves and their own actions and upon information and belief as to

all other matters, as follows:

I. NATURE OF ACTION AND RELIEF SOUGHT

1, World Business Lenders, LLC lauds itself as a direct lender of working capital to small
businesses across the United States and states on its website that: “We are a direct lender and
we stand behind every loan we fund from start to finish.”

2. However, despite its advertised forthrightness to consumers, World Business Lenders, LLC is
part of a larger interstate enterprise intertwined with Liberty Bank, Inc., wherein consumers
are lured into terms and conditions of loan agreements that render the loans usurious,

unconscionable, an otherwise unlawful and obnoxious under New York law and public policy.

3. Plaintiffs bring this action seeking treble damages under RICO; the return of Plaintiffs’

property and money in Defendants’ possession and/or control; the proceeds flowing from the
use of Plaintiffs’ property; a declaration that the loan at issue to be void under New York law;
injunctive orders as may be required to safeguard Plaintiffs’ property and/or recovering of
property during the pendency of this action; and, in accordance with applicable law, Plaintiffs
pray that the Court determine and award costs and reasonable expenses of litigation, including

reasonable attomey’s fees as an incident of Plaintiffs’ costs.

 
 

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Il. JURISDICTION AND VENUE

. This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 ef seg. (hereinafter referred to as

“RICO”).

. The jurisdiction of this Court is invoked in accordance with the provisions of 28 U.S.C. §§

133] and 1367,

. Venue is prescribed by the General Venue Statute, 28 U.S.C § 1391, and it properly lies in the

United States District Court for the Southern District of New York, where the events giving

rise to the claims herein substantially occurred,

Til, PARTIES

. Plaintiff, B & S MEDICAL SUPPLE, INC., N.Y. (hereinafter “B&S”), is a New York limited

liability company licensed with the New York Secretary of State and maintains a principal

place of business located at 316 Avenue X, Brooklyn, New York 11223.

8. Plaintiff, BORIS SIMON (hereinafter “Simon”), is an adult male and citizen of the United

States residing in Brooklyn, New York. At all relevant times to this action, Simon was the sole

shareholder and President of B&S.

. Defendant, WORLD BUSINESS LENDERS, LLC (hereinafter “WBL”), is a New York for-

profit limited liability company licensed with the New York Secretary of State and maintains

a principal place of business located at 101 Hudson Street, 33rd Floor, Jersey City, New Jersey

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10, Defendant, LIBERTY BANK, INC. (hereinafter “Liberty”), is a Utah for-profit limited

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liability company licensed with the Utah Secretary of State and maintains a principal place of

business located at 326 South 500 East, Salt Lake City, Utah 84102,

IV. GENERAL ALLEGATIONS
The WBL Enterprise

At all relevant times to this action, Defendants are/were affiliated companies that have engaged
in a pattern of practice wherein either: (a) WBL owns Liberty outright and uses the Utah bank
as a front to launder loans to escape New York usury laws; or (b) WBL solicits consumers to
engage in usurious loans, then arranges with Liberty to lend to consumers business loans with
interest rates that are illegal in New York but legal in Utah, wherein the loans are immediately
assigned from Liberty to WBL, thereby funneling funds between New York and Utah to escape
New York law.

Under either scenario, WBL and Liberty constituted an “enterprise” as that term is defined

under 18 U.S.C. § 1961(4) (hereinafter the “WBL Enterprise”), wherein WBL solicits New

. York consumers and borrowers to engage in usurious loan agreements and, through the

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interstate transfer of funds, attempts to bypass New York usury statutes, thereby committing
fraud upon the State of New York and its consumers.

At all relevant times to this action, consumers in New York have been solicited to apply for
loans via a WBL call center, wherein unsolicited phone calls are made by live representatives
of WBL, as well as automated dialing equipment, to contact consumers regarding obtaining
business loans from WBL. WBL also maintains a website at www.wbl.com where consumers

can also apply for business loans.
 

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WBL states on every page of its website the following: “In certain states, [WBL] makes capital
available through business loans made by [Liberty], a Utah state-chartered bank, Member
FDIC.” WBL does not disclose on its website which “certain states” fall under its criteria

wherein loans would be made available through Liberty.

Plaintiffs Enter into an Mlegal and Usurious Contract with the WBL Enterprise
At all relevant times relevant to this action, Plaintiff Simon was/is a resident of Brooklyn, New
York. ‘
At all relevant times to this action, Plaintiff B&S was/is a business operated for the purpose of
selling medical supplies located in Brooklyn, New York.
At all relevant times to this action, Simon was/is the sole shareholder and president of B&S.
In or around December 2016, Simon discussed the possibility of obtaining a loan for B&S with
a friend Simon asked this friend whether he knew of any lenders or could otherwise assist in
finding a lender.
Thereafter, in or around December 2016, Simon, while in New York, received an unsolicited
telephone call from a live but unknown representative of WBL.
During this telephone call, Simon and the WBL representative discussed entering into a small
business loan with WBL.
Upon information and belief, the WBL representative was also located in New York during
this solicitation.
Thereafter, on December 29, 2016, Simon, as the owner of B&S, electronically executed a
“Business Loan Application” on behalf of B&S for the amount of USD 28,000.00. Simon

completed all aspects of the application and disclosed to the Defendants that his and B&S’s
 

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physical address were in New York during the application process, Attached hereto as Exhibit

“A” is a copy of the Business Loan Application dated December 29, 2016,

. Notably, the business loan application contained both the business logo and contact

information of WBL and Liberty.

Immediately thereafter, on December 29, 2016, Plaintiffs received a “Conditional Closing
Agreement” that stated the business loan application had been approved for the amount of USD
28,000.00. Attached hereto as Exhibit “B” is the undated Condition Closing Agreement.
Also on December 29, 2016, Simon, as the representative of B&S, electronically executed a

“Business Loan Authorization Agreement for Direct Deposit (ACH Credit) and Direct

Payments (ACH Debits)”. This authorization allowed the “Lender” to distribute the proceeds

of the loan directly into Plaintiffs’ bank: a branch of Citi Bank located at 1501 Kings Highway,
Brooklyn, New York 11229. Attached hereto as Exhibit “C” is the Business Loan
Authorization Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH Debits)
dated December 29, 2016.

Also on December 29, 2016, Simon electronically executed, on behalf of B&S, a “Business
Loan Summary” wherein Liberty was specified to be the lender of the USD 28,000.00 loan.
Attached hereto as Exhibit “D” is the Business Loan Summary, dated December 29, 2016.
The “Business Loan Summary” also set forth a payment schedule commencing on December
30, 2016 and continuing through December 29, 2017, wherein two hundred fifty-one (251)
payments of USD 192.34 would be due beginning with the start of the payment schedule. See

Exhibit “D”.

 
 

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The “Business Loan Summary” also set forth the loan principal of USD 28,000.00 and the
interest charge of USD 20,468.25, for a total repayment amount of USD 48,468.25, See
Exhibit “D”.

The “Business Promissory Note and Security Agreement”, also dated December 29, 2016,
stated that any prepayment on the principal of the loan must be submitted in writing toa WBL
email address, WBLPayolf@wbl.com. Attached hereto as Exhibit “E” is the Business
Promissory Note and Security Agreement, dated December 29, 2016.

The “Business Promissory Note and Security Agreement” also specified that unpaid principal

. onthe loan “shall bear interest at the rate of 3315068493 15% per day until paid in full.”

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Annually, the loan made by the WBL Enterprise subjected Plaintiffs to an annual interest rate

_ of approximately seventy-three percent (73%). See Exhibit “E”,

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Further, as collateral for the loan, Simon was required to place his home in Brooklyn as

security. This collateral was secured in the form of a deed in trust. This collateral was recorded

with the Office of the City Register of the City of New York and listed Liberty Bank, its
successors and/or assigns, as the secured party on the property. Attached hereto as Exhibit
“F” is a filing recorded with the Office of the City Register of the City of New York, dated
December 23, 2016,

Thereafter, on or about January 1, 2017, Plaintiffs received a wire transfer for the loan for the
beginning principal, minus fees and adjustments, for USD 21,981.11,

The wire transfer was received in Plaintiffs’ bank account and was sent from Liberty Bank at
its Utah location.

On or about December 29, 2016, Plaintiffs received correspondence from WBL stating that, as

of the date of the funding of the loan, WBL would service the loan and have the right to collect
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payments on behalf of Liberty. Attached hereto as Exhibit “G” is a copy of this undated
correspondence.

On a date unspecified between December 29, 2016 and January 4, 2018”, WBL sent Plaintiffs
correspondence notifying that, as of the date of the funding of the Loan (January 4, 2018),
WBL was assigned ownership of the loan and would thereafter service the loan and have the
right to collect on the principal and interest payments, Attached hereto as Exhibit “I” is a
copy of this undated correspondence.

Upon information and belief, the date of “January 4, 2018” was a scriveners’ error, and should
have read “January 4, 2017”.

On April 11, 2017, Plaintiffs received correspondence from WBL that notified that WBL, had
declared an “Event Default” as defined under the “Business Promissory Note and Security
Agreement” as of April 12, 2017, and that the entire unpaid balance of the loan, together with
interest, was due in the amount of USD 41,748.44 to be made payable by check or wire transfer
to WBL’s account with IDB Bank. Attached hereto as Exhibit “I” is a copy of this undated
correspondence, dated April 11, 2017.

Upon information and belief, IDB Bank, or Israel Discount Bank, is a foreign corporation
licensed to do business in New York and is located within that state.

The April 11, 2017 correspondence, WBL also referred to itself as the “Lender” under the
“Business Promissory Note and Security Agreement” and further described itself as a “New
York entity.” See Exhibit “1”.

This correspondence was received both as e-mail and regular mail through the United States

Postal Service.

 
 

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Vv. CLAIMS FOR RELIEF

AS AND FOR A FIRST CAUSE OF ACTION

Unlawful Usury in Contravention of New York Law

42. Plaintiffs restate, re-allege, and incorporate herein by reference, paragraphs one (1) through

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thirty-eight (38) as if set forth fully herein,

The maximum interest rate chargeable to consumers under New York law is sixteen percent
(16%). N.Y. Gen. Oblig, Law § 5-501. Charging consumers a rate of interest greater that
twenty-five (25%) is a criminal act under New York law. N.Y. Penal Law § 190.40.
Defendants charged Plaintiffs an interest rate in excess of the maximum rates allowed under
New York law. Defendants’ conduct was knowing, deliberate, intentional, and willful.

N.Y, Gen. Oblig, Law § 5-511 provides that, “whenever it shall satisfactorily appear by the
admissions of the defendant, or by proof, that any bond, bill, note, assurance, pledge,
conveyance, contract, security or any evidence of debt, has been taken or received in violation
of the foregoing provisions, the court shall declare the same to be void, and enjoin any
prosecution thereon, and order the same to be surrendered and cancelled.”

N.Y. Gen. Oblig. Law § 5-513 provides that, “[e]very person who, for any such loan or
forbearance, shall pay or deliver any greater sum or value than is allowed to be received
pursuant to section 5-501, and his personal representatives, may recover in an action against
the person who shall have taken or received the same, and his personal representatives, the
amount of the money so paid or value delivered, above the rate aforesaid.”

N.Y, Penal Law § 190.40 provides that, “[a] person is guilty of criminal usury in the second
degree when, not being authorized or permitted by law to do so, he knowingly charges, takes

or receives any money or other property as interest on the loan or forbearance of any money

 

 
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or other property, at a rate exceeding twenty-five per centum per annum or the equivalent rate
for a longer or shorter period.”

48. The Defendants, in entering into the loan with the Plaintiffs through the WBL Enterprise, has
engaged in conduct in contravention of New York State law as the interest rate of said loan of
seventy-three percent (73%) is usurious.

49. Accordingly, Plaintiff are entitled to a declaration that the loan entered into with the WBL
Enterprise is unlawful and usurious, and restitution of all amounts paid to Defendants in excess

of the principal amount, plus costs of bringing this action.

AS AND FOR A SECOND CAUSE OF ACTION
Federal Civil RICO

50. Plaintiffs restate, re-allege, and incorporate herein by reference, paragraphs one (1) through
forty-six (46) as if set forth fully herein.

51. Plaintiffs are each a “person” within the meaning of 18 U.S.C. §§ 1961(3) and 1964(c).

52. Defendants are each a “person” within the meaning of 18 U.S.C. §§ 1961(3).

53. The WBL Enterprise, consisting of each named Defendant, is an “enterprise” as that term is
defined by 18 U.S.C. § 1961(4),

54.18 U.S.C. § 1962(c) provides that, “it shall be unlawful for any person employed by or
associated with any enterprise engaged in, or the activities which affect, interstate or foreign
commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’ s
affairs through a pattern of racketeering activity or collection of unlawful debt.”

55. 18 U.S.C. § 1962(d) further prohibits a conspiracy to use an enterprise for the collection of

unlawful debt. |
 

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56. The WBL Enterprise is an enterprise engaged in interstate commerce including, without

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limitation, the making, servicing, and collecting of loans throughout the United States,
including New York.

The loan made to Plaintiffs by the WBL Enterprise constitutes “unlawful debt” as that term is
defined by 18 U.S.C. § 1961(6) as (4) the debt resulting from the loan is unenforceable in whole
or in part as to interest under New York law relating to usury and (ii) the debt was incurred in
connection with the business of lending money at a usurious rate of interest that is more than
twice the enforceable rate under New York law.

Defendants violated 18 U.S.C. § 1962(c) by participating, directly or indirectly, in the conduct
of the WBL Enterprise’s affairs in the collection of unlawful debt, and such participation
constitutes a pattern of practice of the Defendants.

Defendants also violated 18 U.S.C. § 1962(d) by conspiring to use the WBL Enterprise to

collect unlawful debt. Each Defendant knowingly agreed to participate in the events alleged

herein that allowed the WBL Enterprise to make and collect unlawful debt at more than twice
the lawful rate of interest under the New York State usury laws.

Plaintiffs have sustained injury to their property directly cause by the Defendants’ violations
of 18 U.S.C. § 1962 in the form of, among other things, the payment of unlawful and usurious
rates on interest on the loan made by the WBL Enterprise. Under 18 U.S.C. § 1964(c), Plaintiff

are entitled to threefold damages, along with costs and attorneys’ fees.

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VI PRAYER
WHEREFORE, the Plaintiffs demand judgment against Defendants for an entry of
Judgment finding an awarding the following:
It is respectfully requested that the Court grant the Plaintiffs such other and further relief
which they are entitled, including but not limited to:
a. Finding that the loan made by WBL, Liberty, and the WBL Enterprise is void and
unenforceable;
b. Ordering the Defendants to pay the Plaintiffs all amounts collected on the loan;
c. Awarding the Plaintiffs actual and threefold damages;
d, Awarding reasonable attorney’s fees and the costs and disbursements of this action;
and
e. Granting such other and further relief that the Court deems just and proper.
VL REQUEST FOR JURY |
In the exercise of their rights under the Seventh Amendment of the United States
Constitution, the applicable statutes and rules of the Court, Plaintiff's respectfully request that a
jury decide all issues of fact in the above-cited claims for relief.

Dated: April 19, 2017
Huntington Station, New York Respectfully submitted,

Zimmerman Law, P.C.

Attorneys for Plainitffs

B&S Medical Supply, Inc., N.Y. and
Boris Simon

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ichael A. Zimmeggrin (MZ2076) ~—
315 Walt Whit Road, Suite 215

Huntington Station, New York 11746
(631) 415-0900

   

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VERIFICATION

 

1, Boris Simoni, as to myself'and asa representative of B.& S Medical Supply, Inc. N.Y.,
-hereby verify and affirm that the foregoing facts. and clainis are true and, correet; done under the

penalties of perjury,

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BORIS SIMON

 

Sworn to before me on this

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